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                     PSJ11 CVS Opp Exh 1
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   From:                      Mortellltl, John H. </O=CVS/OU=HQ/CN=RECIPIENTS/CN=JHMORTELLITI>
   To:                        Richmond, Ron; Sanitate, Richard G.; Forster, Matthew
   Sent:                      9/1/201010:54:40 AM
   Subject:                   FW: DEA Speaking Points
   Importance:                High
   Attachments:               DEA Speaking Points IRR.ppt


   This updated version was approved by counsel.

   DEA in Orlando today and we just found out they were back in Indy yesterday as well as today.



  John Mor tel fiti
  Loglsitcs Loss Prevemi l)JJ
   (609) 267-{,7()() t(i801


                                                    ----·---------------------------------
   From: Mortell/ti, John H.
   Sent: Wednesday, September 01, 2010 10:53 AM
   To: Jarnagin, Marvin R.; Hinkle, Pam J. (PJHinkle@cvs.com); Humphries, Sean J.; Turks, Clarence
   Cc: Byers, Denise; Bachofen, Matthew s.
   Subject: FW: DEA Speaking Points
   Importance: High

   Team,

   Tl1ese are the final appro'ved speaking points for the DEA agents If they come to one of your faciltties and question
   suspicious monitoring. It is ok to share this document. Please be sure your team understands it before presenting so it
   doesn't look like a prop irlslead of a tool.

   I included Marvin because DEA will be there today as well.

  John Mortelllti
  Logistics Loss Prevention
  (609) 267-6700 ;:6801



  From: MorteJJiti, John H.
  Sent: Wednesday, September 01, 2010 10:46 AM
  To: Dugger, Terrence; Hxnnphrles, Sean J.
  Subject: PV'I: DEA Speal<ing Points
  Importance: High

  Terrence

  This is for the DEA. The corrections listed below have been updated. It Is ok to review this with the agents.

  John Mort.elliti
  logistics Loss Prevent.Jon
  (609) 267-6700 #6801




CONFIDENTIAL                                                                       PLAINTIFF'S                    CVS-MDL T1-000075299
                                                                               ·       EXHIBIT
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                              Suspicious Order Monitoring
                                  for PSE/Control Drugs
                               Summary of Key Concepts and Procedures

                                          August 27, 2010




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                            CVS Suspicious Order Monitoring
                            o CVS has implemented several policies and
                               procedures to identify and investigate potential
                               suspicious orders:
                              • ~lores are linuted in how much PS£/t PH/Control
                                  Drugs may be ordered
                               • An Inventory Review Report has been developed
                                 to identify potential excessive orders
                               • DC RX and Loss Prevention have been tasked
                                  with review and investigation of potential
                                  suspicious orders from the DC to the stores




                                                                                  2


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                            Purpose of Inventory Review Report
                            (IRR)
                            CVS has created a IRR for PSE/EPH and for Controlled
                              drugs to:
                            o A~~i~t in detection uf potentic1l suspiciom orders
                            o Prevent diversion of PSE/EPT-l/Control Drug
                               Products
                            o Proactive approachw detect or debunk
                               PSE/EPH/Control Drug theft
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                            What is a PSE IRR
                            o Report based on 4 formulas used to determine
                              potential suspicious orders
                               • Current order deviation from 6 month avg
                               • Current order deviation from 12 month avg
                               • Deviation of current order from historic ordering
                                 behavior
                               • Deviation of current order from previous 2
                                 months and months 11 and I 2 (4 month average)




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                             What is a Control Drug IRR
                             o Report based on 6 formulas used to determine
                               potential suspicious orders
                                • Current order deviation from 6 month avg
                                • turrent order dev:anon from pro_l,ected order \:ia8eJ   on
                                  historical average
                                • Detects ifGNC is subject to frequent ordering
                                • Detects an increasing trend in ordering behavior
                                • Detects _if GNC has been ordered in past 2 months
                                • Determines ifGNC order is less than or equal to 6 month
                                  maximum




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                            PSE/Control Drug IRR Review
                            o MID - Month To Date
                            o LAG - last month orders are LAG L One
                              yMi' tigl'i 1~ LAG 11. (Conttol Drug ffiR. uses
                              6 month LAG)
                            o PSE/EPH quantity is represented in grams
                              (not by item)
                            o Control Drug quantity is represented by
                              individual item




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                            Responsibilities
                            o   DC RX- Review Report {IRR) Daily and determine whether
                                variances are within acceptable ranges
                            o   Communicate variances that require additional review to the
                                Viper Analyst
                            D   Viper Analyst determines if report warrants further
                                investigation and communicates decision to DC R-X
                            o DC R,"{ files information with DC copy of IRR
                              • Determination of suspicious order - Director of Logistics
                                Loss Prevention notifies DEA and conducts investigation;
                                no further shipments of the product to the store until the
                                matter is resolved
                                • No suspicious order - Attach documentation. to !RR report
                                  and file




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                            What to consider when determining if a
                            PSE/EPH order is potentially suspicious
                            o Was there a "Peak TiI" or "Push"? - DC RX will
                              have this information
                            o Is it allergy season?
                            o What is the stores inventory levels?
                            o How many actual grams were ordered?
                               •   Although there are formulas, it doesn't take much to flag
                                   a low volume store order.
                               • Ex. There are 3.6 grams of PSE in Clariton D 30 ct. A
                                   store order of6 boxes would result in 21.60 grams just for
                                   that one item order




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                            What to consider when determining if a Control
                            Drug order is potentially suspicious
                             o Control Drugs are not commonly "Pushed" as
                               a sale item
                             o Control Drugs do not have a ''SeasonalH
                               increase in most cases
                            o How many items does the store have on the
                              IRR
                            o If more than one item on IRR. are the items in
                               the same category (pain, anxiety, etc)




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                              FAQ
                              o Why is the DC responsible to review
                                suspicious orders?
                                • The DC as a separate DEA registrant is
                                  responsible for products shipped from the facility
                                • DEA regulations require all distributors to report
                                  suspicious orders
                                • Therefore the DC must review the orders of
                                  PSE/EPH/Control Drugs and initiate an
                                  investigation because the DC is the entity that
                                  picks a7id distributes the product.      ·




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                              FAQ continued
                              o Can the DC RX Supervisor supply item order
                                information?
                                 • Y c.5 - The DC RX ream wm nrsl fur.,,iard the info
                                   to the Viper Analyst to determine whether there is
                                   a legitimate reason for the order. Further
                                   investigation should include a review of the list if
                                   items ordered. Control Drugs are already broken
                                   down by item




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                             FAQ continued
                             o How Jong does the Viper Analyst have to follow up
                               with the DC RX Dept?
                                • It is the policy that the decision as to whether to conduct
                                    a11 ~nvest:gat;on thus 11igge11ng a report to DEA be made
                                    on the same day as the variance is flagged.
                                • The DC should hold the order or request a return of the
                                  order from the store if a determination is made that the
                                    order was not for a legitimate reasons,
                                •   Future shipments to the store of this product should be
                                    held until the matter is investigated and resolved.




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                             FAQ continued
                             o Why can't we have one set standard for
                               initiating an investigation?
                               1   There are several Iaetors thaL can attribute to a
                                  store ordering high qty of PSE and/or Control
                                  Drugs. (Local competitor closes, vendor coupons
                                  for specific items, etc)
                                • Variance must be investigated to determine
                                  whether the order is excessive or outside the
                                  norm for that store and stores of similar size




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